        Case 1:24-cv-03054-RDM      Document 28   Filed 05/09/25   Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


Inza, et al.,

                Plaintiffs,
                                              Case No. 1:24-CV-03054-RDM
        v.
                                              JURY TRIAL DEMANDED
AT&T, Inc. et al.,

                Defendants.



             AT&T DEFENDANTS’ NOTICE OF DESIGNATION OF RELATED CIVIL CASES
        Case 1:24-cv-03054-RDM                Document 28           Filed 05/09/25         Page 2 of 2




        As required by Local Rule 40.5(b)(3), the AT&T defendants1 respectfully notify the Court

of civil cases that were previously filed in this District, and voluntarily dismissed without

prejudice, that are related to this case under Local Rule 40.5(a)(4). See Exhibit A.

        By filing this designation, the AT&T defendants reserve all rights to arbitrate this matter

(or any portion of it) to the full extent allowed by law.

Dated: May 9, 2025                                        Respectfully submitted,

                                                          GIBSON, DUNN & CRUTCHER LLP



                                                          By: /s/ Kristen Limarzi
                                                              Kristen Limarzi


                                                          1700 M Street, N.W.
                                                          Washington, D.C. 20036-4504
                                                          Telephone: 202.955.8500
                                                          Facsimile: 202.467.0539
                                                          Email: KLimarzi@gibsondunn.com

                                                          Attorney for AT&T Defendants




1
 The AT&T defendants identified by plaintiffs’ second amended complaint are: AT&T, Inc.; AT&T Corp.; AT&T
Services, Inc.; David R. McAtee II; Scott T. Ford; Glenn H. Hutchins; William E. Kennard; Stephen J. Luczo; Marissa
A. Mayer; Michael B. McCallister; Beth E. Mooney; Matthew K. Rose; John Stankey; Cynthia B. Taylor; Luis A.
Ubinas.




                                                       -1-
